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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF WISCONSIN


 CONSUELA SMITH-WILLIAMS, FRED
 RIVERS, RICHARD MURPHY, ROBERT
 RISTOW, ROGER SUHR, and
 SALVADOR FUENTES, individually, and
 on behalf of all similarly situated,                        Case No. 17-cv-823-wmc

                            Plaintiffs,

              v.

 UNITED STATES OF AMERICA,

                            Defendant.


    UNITED STATES’ RESPONSE TO PLAINTIFFS’ MOTION TO COMPEL THE
         DEPOSITION TESTIMONY OF DR. FRANK MARCANTONIO


      On November 15, 2018, Plaintiffs Consuela Smith-Williams, Fred Rivers, Richard

Murphy, Robert Ristow, Roger Suhr, and Salvador Fuentes, through their counsel,

moved the Court pursuant to Fed. R. Civ. P. 37 for an order compelling the deposition

testimony of Dr. Frank Marcantonio. (ECF No. 52.) The Court will hear arguments on

the Motion to Compel on November 28.

      In their Motion, Plaintiffs allege, among other things, that the United States

provided a quality of dental care that fell below appropriate standards and was

negligent in certain ways that resulted in Plaintiffs purportedly suffering severe

emotional distress. The United States, consistent with its Answer, disputes these

allegations. (See ECF No. 29.) Notwithstanding, the United States takes no position on
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whether the Court should compel Dr. Marcantonio to testify as Plaintiffs have

requested.

      Dated this 19th day of November, 2018.

                                               Respectfully submitted,

                                               SCOTT C. BLADER
                                               United States Attorney


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